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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  RUDOLPH BETANCOURT,
      Plaintiff,
  vs.

  ABC PROPERTIES, LTD. and ABC
  LIQUORS, INC. d/b/a ABC FINE WINE &
  SPIRITS,
      Defendants.


                                            COMPLAINT

         Plaintiff, RUDOLPH BETANCOURT (hereinafter “Plaintiff”), by his undersigned,

  hereby files this Complaint and sues Defendants, ABC PROPERTIES, LTD. and ABC

  LIQUORS, INC. d/b/a ABC FINE WINE & SPIRITS (hereinafter “Defendants”), for injunctive

  relief pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter

  the “A.D.A”), the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter the

  “ADAAG”), and the Florida Building Code.

                                    JURISDICTION & VENUE

         1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

  and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendants’

  violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

         2.      The subject property is a liquor store located on or about 601 N.E. Park St.

  Okeechobee, FL 34972 (hereinafter “Subject Premises”).

         3.      All events giving rise to this lawsuit occurred in the State of Florida. Venue is

  proper in this Court as the premises are located in the Southern District.

                                              PARTIES



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         4.      Plaintiff, RUDOLPH BETANCOURT, is currently a resident of Fenwick,

  Michigan in the County of Montcalm, is sui juris, and is a qualified individual under the ADA

  and the FACBC.

         5.      Plaintiff is a double leg amputee who uses prosthetic devices or a wheelchair to

  ambulate, a Marine Corps veteran with several friends, family, and colleagues in Florida who he

  frequently visits. Additionally, Plaintiff enjoys the Florida weather and the multiple sporting

  events, festivals, and events that occur throughout Florida.

         6.      Despite the physical limitations to which he is subjected as a result of his

  disability, Plaintiff continues to lead a full life, frequently travels, dines out, and is also an

  actively social and independent individual. Plaintiff’s recent visits include:

                   a.    Coral Springs, FL on or about March 26, 2021,
                   b.    Pompano Beach, FL on or about March 28, 2021,
                   c.    West Palm Beach, FL on or about June 30, 2021,
                   d.    Miami Beach, FL on or about July 15, 2021,
                   e.    Jacksonville, FL on or about September 14, 2021,
                   f.    Weston, FL on or about September 16, 2021,
                   g.    Deerfield Beach, FL on or about September 17, 2021,
                   h.    Weston, FL on or about October 10, 2021,
                   i.    Sunrise, FL on or about October 11, 2021,
                   j.    Orlando, FL on or about March 5, 2022,
                   k.    Titusville, FL on or about July 9, 2022,
                   l.    Orlando, FL on or about July 21, 2022,
                   m.    Pompano Beach, FL on or about July 22, 2022,
                   n.    Boca Raton, FL on or about July 23, 2022,
                   o.    Stuart, FL on or about July 25, 2022,
                   p.    Boca Raton, FL on or about September 1, 2022,
                   q.    Margate, FL on or about January 5, 2023
                   r.    Ft. Lauderdale, FL on or about January 6, 2023,
                   s.    Pembroke Pines, FL on or about January 6, 2023,

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                    t.    Coral Springs, FL on or about January 7, 2023,
                    u.    Plantation, FL on or about January 7, 2023,
                    v.    Weston, FL on or about January 8, 2023,
                    w.    Melbourne, FL on or about June 12, 2023,
                    x.    Davenport, FL on or about June 13, 2023,
                    y.    Pompano Beach, FL on or about June 14, 2023,
                    z.    Melbourne, FL on or about July 10, 2023,
                    aa.   Ft. Lauderdale, FL on or about July 11, 2023,
                    bb. Davenport, FL on or about July 11, 2023,
                    cc.   Pompano Beach, FL on or about July 12, 2023,
                    dd. Ft. Lauderdale, FL on or about September 12, 2023.
                    ee.   Broward County, Florida on or about October 20-23, 2023,
                    ff.   Miami Dade County, Florida on or about October 23-24, 2023.

          7.      Defendant, ABC PROPERTIES, LTD., is a LTD. which is authorized to and does

  transact business in the State of Florida and within this judicial district.

          8.      Pursuant to the Okeechobee Property Appraiser’s Office, Defendant, ABC

  PROPERTIES, LTD., is the owner and/or operator/manager of the real property located on or

  601 N.E. Park St. Okeechobee, FL 34972 (hereinafter the “Subject Premises”). This is the

  building where the Subject Premises is located.

          9.      Defendant, ABC LIQUORS, INC., is a corporation which is authorized to and

  does transact business in the State of Florida and within this judicial district.

          10.     According to the Florida Department of Business and Professional Regulation, the

  Defendant, ABC LIQUORS, INC., was licensed to provide Retail Beverage and occupies 601

  N.E. Park St. Okeechobee, FL 34972 as a liquor store known as “ABC FINE WINE &

  SPIRITS”.

          11.     The Subject Premises is owned and/or operated by the Defendants and is a public

  accommodation required by law to comply with the ADA and ADAAG.

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                            FACTUAL ALLEGATIONS AND CLAIM

         12.     Plaintiff recently visited the Subject Premises on or about June 14, 2023 to

  purchase liquor and accessed to the extent possible, or attempted to access the Subject Premises

  and specific areas of the Subject Premises as described herein.

         13.     While visiting the Subject Premises, Plaintiff personally encountered or observed

  several barriers to access in violation of the ADA and ADAAG as detailed further herein at

  Paragraph 17. As a result, Plaintiff has been denied access to the Subject Premises and full and

  equal enjoyment of the goods and services offered therein because of his disability and will

  continue to be denied such access as a result of those barriers.

         14.     Said barriers to access at the Subject Premises endanger the safety of Plaintiff and

  all other individuals with disabilities, deny Plaintiff and others with disabilities equal access to

  the Subject Premises as to that of able-bodied persons, and causes social embarrassment due to

  the difficulties encountering such barriers to access—a social embarrassment that would not

  occur if the Subject Premises was in compliance with the ADA and ADAAG.

         15.     In encountering the barriers to access at the Subject Premises, and suffering the

  resulting discrimination, endangerment, and embarrassment—the Plaintiff sustained a lawful

  injury-in-fact pursuant to the ADA.

         16.     Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

  Department of Justice, Office of the Attorney General, published revised regulations for Title III

  of the Americans with Disabilities Act of 1990 in the Federal Register to implement the

  requirements of the ADA. Public accommodations were required to conform to these regulations

  on or before March 15, 2012.1


  1 “Safe Harbor. Elements that have not been altered in existing facilities on or after March 15,

  2012, and that comply with the corresponding technical and scoping specification for those

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         17.      A specific, although not exclusive, list of unlawful physical barriers, dangerous

  conditions and ADA violations which preclude and/or limit Plaintiff’s ability (because of his

  disability) to access the Facility and/or full and equal enjoyment of the goods, services, facilities,

  privileges, advantages and/or accommodations of the Facility include:

               Exterior Accessible Routes
                  1. The facility does not provide at least one accessible route of travel from the
                     public way and accessible parking spaces to the building entrances they serve
                     making it difficult for the plaintiff to traverse. Violation: At least one
                     accessible route shall be provided within the site from accessible parking
                     spaces and accessible passenger loading zones; public streets and sidewalks;
                     and public transportation stops to the accessible route from a site arrival point
                     to an accessible entrance shall be required as in §206.2.1 of the 2010 ADA
                     Standards. Recommendation: Provide at least one compliant accessible route
                     from the public way and accessible parking spaces to the building entrances
                     they serve in accordance with §206.2.1 of the 2010 ADA Standards.
                     Estimated Cost: $500.00. The removal of this barrier is readily achievable as
                     this barrier is cited as an example of readily achievable in §206.2.1 of the
                     2010 ADA Standards. Accessible Routes.
                  2. The curb ramp leading from the accessible parking to the facility entrance has
                     a running slope that exceeds the maximum allowance of 8.33% making it
                     difficult for the plaintiff to traverse the facility. Violation: Ramp runs shall
                     have a running slope not steeper than 8.33% as required by §405.2 of the 2010
                     ADA Standards. Recommendation: Remove the built-up curb ramp and
                     provide a compliant curb ramp pursuant to §406.5 of the 2010 ADA
                     Standards. Estimated Cost: $3,500.00. The removal of this barrier is readily
                     achievable as this barrier is cited in §406.5 and §405.2 of the 2010 ADA
                     Standards. Curb Ramps, Running Slope.
                  3. The curb ramp has side flares that exceed the maximum slope allowance
                     making it difficult for the plaintiff to utilize. Violation: Where provided, curb
                     ramp flares shall not be steeper than 1:10 complying with §406.1 and §406.3
                     of the 2010 ADA Standards. Recommendation: Modify ramp to provide side
                     flares with less than 10% slope. Estimated Cost: $2,500.00 The removal of
                     this barrier is readily achievable as this barrier is cited as an example of
                     readily achievable in §406.1 and §406.3 of the 2010 ADA Standards and 28
                     CFR §36.211. Curb Ramps. Maintenance of accessible features.
                  4. The plaintiff had difficulty traversing the access aisle due to the curb ramp
                     projecting into the access aisle creating an uneven surface. Violation: Curb
                     ramps and the flared sides shall be located so that they do not project into

  elements in the 1991 Standards are not required to be modified in order to comply with the
  requirements set forth in the 2010 Standards” 28 CFR §36.304(d)(2)(i), however, the violations
  described herein violate both the 1991 Standards as well as the 2010 Standards.

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                  vehicular traffic lanes, parking spaces, or parking access aisles in accordance
                  with §406.5 of the 2010 ADA Standards. Recommendation: Reconstruct the
                  curb ramp to provide a compliant curb ramp that does not project into the
                  access aisle. Cost: $2,500.00. The removal of this barrier is readily achievable
                  as this barrier is cited as an example of readily achievable in §406.5 of the
                  2010 ADA Standards. Passenger Loading Zones, Access Aisles.
           Accessible Parking
              5. The accessible parking stall’s signage does not meet the minimum height
                  requirement of 60 inches above the finish ground making it difficult for the
                  plaintiff to identify that accessible parking. Violation: Parking spaces
                  complying with §502 shall be identified by signs as required by §216.5.
                  Identification signs shall be 60 inches minimum above the ground surface
                  measured to the bottom of the sign and shall include the International Symbol
                  of Accessibility (ISA) complying with 703.7.2.1 of the 2010 ADA Standards.
                  Recommendation: Provide identification signage including the International
                  Symbol of Accessibility (ISA) according to §502.6 of the 2010 ADA
                  Standards. Estimated Cost: 250.00/each. The removal of this barrier is readily
                  achievable as this barrier is cited in §502.6 of the 2010 ADA Standards.
                  Parking. Identification.
           Service Counter
              6. The plaintiff had difficulty utilizing the sales and service counter due to the
                 height of the counter exceeding 36 inches above the finish floor. Violation: A
                 portion of the counter surface that is 36 inches long minimum and 36 inches
                 high maximum above the finish floor shall be provided. A clear floor or
                 ground space complying with §305 shall be positioned for a parallel approach
                 adjacent to the 36inch minimum length counter. Recommendation: Provide a
                 lowered portion of the sales and service counter not to exceed 36 inches
                 maximum in height and 36 inches long maximum. Estimated Cost: Less than
                 $450.00. The removal of this barrier is readily achievable as this barrier is
                 cited as an example of readily achievable in §904.4 and §904.4.1 of the 2010
                 ADA Standards. Sales and Service Counters.




           Men’s Public Restroom
              7. The facility does not provide designation signage with the International
                 Symbol of Accessibility (ISA) and braille as required making it difficult for
                 the plaintiff to locate the restroom. Violation: the toilet room complying with
                 §603 shall be identified by the International Symbol of Accessibility
                 complying with §703.7.2.1 and §703.5. Recommendation: Provide
                 designation signage including the International Symbol of Accessibility
                 mounted 48 inches minimum above the finished floor measured from the
                 baseline of the lowest tactile character and 60” maximum above the finished
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                 floor, measured from the baseline of the highest tactile character, along the
                 latch side of the restroom door as required by §216.8, §703.5 and §703.7.2.1
                 of the 2010 ADA Standards, whose resolution is readily achievable. Estimated
                 Cost: Less than $100. The removal of this barrier is readily achievable as this
                 barrier is cited as an example of readily achievable in §216.8 of the 2010
                 ADA Standards. Signs. Toilet Rooms and Bathing Rooms.
             8. There are exposed pipes and water supply lines underneath the lavatory
                 making it hazardous for the plaintiff to utilize. Violation: Water supply and
                 drain pipes under lavatories and sinks shall be insulated or otherwise
                 configured to protect against contact as required by §606.5 of the 2010 ADA
                 Standards. Recommendation: Install insulation around the exposed water
                 supply lines as required. Estimated Cost: $100.00. The removal of this barrier
                 is readily achievable as this barrier is cited as an example of readily
                 achievable in §606.5 of the 2010 ADA Standards. Lavatories. Exposed Pipes
                 and Surfaces.
             9. The facility provides a mirror that exceeds the maximum height requirement
                 of 40 inches above the finish floor making it difficult for the plaintiff to
                 utilize. Violation: Mirrors located above lavatories or countertops shall be
                 installed with the bottom edge of the reflecting surface 40 inches maximum
                 above the finish floor or ground in accordance with §603.3 of the 2010 ADA
                 Standards. Recommendation: Relocate or install a new mirror at the compliant
                 height, not to exceed 40 inches above the finish floor to the bottom edge of the
                 reflecting surface as required by §603.3. Estimated Cost: $250. The removal
                 of this barrier is readily achievable as this barrier is cited as an example of
                 readily achievable in §603.3 of the 2010 ADA Standards. Toilets and Bathing
                 Rooms.
             10. The lavatory obstructs the water closet’s 60 inches of clearance measured
                 perpendicular from the side wall making it difficult for the plaintiff to transfer
                 to the water closet. Violation: Clearance around the water closet shall be 60
                 inches minimum measured perpendicular from the side wall and 56 inches
                 minimum measured from the rear wall in accordance with §604.3.1 and
                 §604.3.2 of the 2010 ADA Standards. Recommendation: Relocate the lavatory
                 to a compliant location not to obstruct the water closets clear floor space.
                 Estimated Cost: $1,000.00. The removal of this barrier is readily achievable as
                 this barrier is cited as an example of readily achievable in §604.3.1 of the
                 2010 ADA Standards. Water Closets. Size.
             11. The facility does not provide a water closet with the flush control on the open
                 side making it difficult for the plaintiff to utilize. Violation: Flush controls
                 shall be hand-operated or automatic. Hand-operated flush controls shall
                 comply with 309. Flush controls shall be located on the open side of the water
                 closet as required by §604.6 of the 2010 ADA Standards, except in
                 ambulatory      accessible    compartments       complying      with     604.8.2.
                 Recommendation: Install a new water closet with the flush control on the
                 compliant open side as required. Estimated Cost: $1,000. The removal of this
                 barrier is readily achievable as this barrier is cited as an example of readily
                 achievable in §604.6 of the 2010 ADA Standards. Flush Controls.


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                 12. The water closet does not provide a rear wall grab making it difficult for the
                     plaintiff to transfer onto the seat. Violation: Grab bars shall comply with 609.
                     A side-wall grab bar complying with §604.5.1 shall be provided and shall be
                     located on the wall closest to the water closet. In addition, a rear-wall grab bar
                     complying with §604.5.2 shall be provided, in violation of §604.8.1.5 of the
                     2010 ADA Standards. Recommendation: Install a new rear wall grab bar in
                     the compliant location on the rear wall as required. Estimated Cost: $300. The
                     removal of this barrier is readily achievable as this barrier is cited as an
                     example of readily achievable in §604.5 of the 2010 ADA Standards. Grab
                     Bars.
                 13. The water closet does not provide a side wall grab bar that is a minimum of 42
                     inches long, is not located 12 inches maximum from the rear wall, and does
                     not extend 54 inches minimum from the rear wall as required making it
                     difficult for the plaintiff to transfer to the seat. Violation: The side wall grab
                     bar shall be 42 inches long minimum, located 12 inches maximum from the
                     rear wall and extending 54 inches minimum from the rear wall as required by
                     §604.5.1 of the 2010 ADA Standards. Recommendation: Remove the existing
                     grab bar and provide a compliant side wall grab bar in accordance with
                     §604.5.1 of the 2010 ADA Standards. Estimated Cost: $300. The removal of
                     this barrier is readily achievable as this barrier is cited as an example of
                     readily achievable in §604.8.1.5, §604.5 and §609 of the 2010 ADA
                     Standards. Toilet Compartments. Grab Bars. Side-wall.
                 14. The plaintiff had difficulty utilizing the toilet paper dispenser due to the
                     position not in the compliant location of 7 inches minimum and 9 inches
                     maximum from the front rim of the toilet to the centerline of the dispenser.
                     Violation: The toilet paper dispenser shall be located 7 inches minimum and 9
                     inches maximum in front of the water closet measured to the centerline of the
                     dispenser as required by §604.7 of the 2010 ADA Standards.
                     Recommendation: Install a compliant toilet paper dispenser as required by
                     §604.7. Estimated Cost: $100.00. The removal of this barrier is readily
                     achievable as this barrier is cited as an example of readily achievable in
                     §604.7 of the 2010 ADA Standards. Dispensers.


         18.     The above listing is not to be considered all-inclusive of the barriers, conditions or

  violations encountered by Plaintiff and/or which exist at the Facility. Plaintiff requires an

  inspection of the Facility in order to photograph, measure and determine all of the discriminatory

  acts violating the ADA—including specifically those concealed by the initial barriers which

  Plaintiff encountered.




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         19.     The removal of the physical barriers, dangerous conditions and ADA violations

  set forth herein is readily achievable and can be accomplished and carried out without much

  difficulty or expense pursuant to 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); and 28

  C.F.R, § 36.304.

         20.     The ADA defines “readily achievable as “easily accomplishable and without

  much difficult or expenses.”42 U.S.C. §12181(9) Congress included in the ADA factors to be

  considered in evaluating whether removal of a barrier is “readily achievable.” These factors are

  (1) nature and cost of the action; (2) overall financial resources of the facility or facilities

  involved; (3) number of persons employed at such facility; (4) effect on expenses and resources;

  (5) impact of such action upon the operation of the facility; (6) overall financial resources of the

  covered entity; (7) overall size of the business of a covered entity; (8) the number, type, and

  location of its facilities; (9) type of operation or operations of the covered entity, including

  composition, structure, and functions of the workforce of such entity, and (10)geographic

  separateness, administrative or fiscal relationship of the facility or facilities in question to the

  covered entity. Garthright-Dietrich v. Atlanta Landmarks, Inc., 452 F. 3d 1269, 1272-73 (11th

  Cir. 2006).

         21.     The obligation to engage in readily achievable barrier removal is a continuing

  one. Over time, barrier removal that initially was not readily achievable may later be required

  because of changed circumstances. DOJ ADA Title III Technical Assistance Manual, Section III-

  4.4400 Continuing obligation.

         22.     Because, inter alia, this facility was designed, constructed, and opened after

  March 2012, Plaintiff asserts that said ADA violations are intentional in nature and will not be




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  corrected absent Court intervention, thus exacerbating the intentional legal harm and injury to

  which Plaintiff has been and will continue to be subjected in the future.

          23.     Plaintiff will undoubtedly return to the Subject Premises once the barriers to

  access have been remediated—not only to avail himself of the goods and services available at the

  Subject Premises, but to confirm and assure himself that the Subject Premises has been brought

  into compliance with the ADA and maintained in compliance with the ADA so that Plaintiff and

  other persons with disabilities will have equal access to the Subject Premises without fear of

  discrimination, endangerment of their safety, or social and public embarrassment.

          24.     Independent of his personal desire to access this place of public accommodation

  as required by law, Plaintiff is an advocate of the rights of similarly situated persons with

  disabilities and an advocate for asserting his own civil rights. However, Plaintiff is deterred

  from returning to the Subject Premises as long as the Defendants continue to operate the Subject

  Premises in violation of the ADA and ADAAG.

          25.     Plaintiff has a realistic, credible, and continuing threat of discrimination by the

  Defendants as long as the Subject Premises remains in non-compliance with the ADA.

          26.     Defendants have discriminated against Plaintiff and others with disabilities by

  denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

  advantages and/or accommodations of the Facility, as prohibited by 42 U.S.C., § 12182, et. seq.,

  and by failing to remove architectural barriers as required by 42 U.S.C., § 12182(b)(2)(A)(iv)

  and will continue to discriminate against Plaintiff and others with disabilities unless and until

  Defendants are compelled to remove all physical barriers that exist at the Facility, including

  those specifically set forth herein, and make the Facility accessible to and usable by persons with

  disabilities, including Plaintiff.



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            27.   Plaintiff has suffered and continues to suffer direct and indirect injury as a result

  of the ADA violations that exist at the Subject Premises and the actions or inactions described

  herein.

            28.   Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

  reasonably anticipates that he will continue to suffer irreparable harm unless and until

  Defendants are required to remove the physical barriers, dangerous conditions and ADA

  violations that exist at the Facility, including those set forth herein.

            29.   Plaintiff has been obligated to retain undersigned counsel for the filing and

  prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

  and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

            30.   Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

  injunctive relief to Plaintiff, including an order to alter the subject Facility to make it readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA, and

  closing the subject Facility until the requisite modifications are completed.

            WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

  injunction enjoining Defendants from continuing is discriminatory practices, ordering

  Defendants to remove the physical barriers to access and alter the subject Facility to make it

  readily accessible to and useable by individuals with disabilities to the extent required by the

  ADA, closing the subject Facility until the barriers are removed and requisite alterations are

  completed, and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation

  expenses incurred in this action.

                                                  Respectfully submitted,

                                                  s/ Glenn R. Goldstein
                                                  Glenn R. Goldstein, Esq. (FBN: 55873)


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